        Case 2:20-cv-00966-NR Document 308 Filed 08/03/20 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                     )
                                        )
PRESIDENT, INC., et al.,                ) 2:20-cv-966-NR
                                        )
              Plaintiffs,               )
                                        )
       v.                               )
                                        )
                                        )
KATHY BOOCKVAR, et al.,                 )
                                        )
                                        )
              Defendants.               )

                                  ORDER
      In advance of the telephonic status conference scheduled for August 6,
2020 at 2:00 PM, the Court ORDERS the following:
      1.     By August 5, 2020 at 5:00 PM, each party must email the Court’s
courtroom deputy at alexander_vahlsing@pawd.uscourts.gov, and provide Mr.
Vahlsing with the names of all attorneys representing that party at the
telephonic status conference. Only one (1) attorney will be permitted to
speak on behalf of any given party, and Mr. Vahlsing must be told which
attorney that will be. The Court encourages the parties, when possible, to
appoint a coordinating lead attorney to speak on behalf of those parties with
joint interests.
      2.     Counsel should be prepared to discuss: (1) pending discovery
disputes and measures taken to resolve those disputes; and (2) questions
regarding the operative scheduling order and September evidentiary hearing.
The Court does not intend for counsel to address any of the substantive
arguments involved with the Rule 12 motions during the status conference.




                                    -1-
       Case 2:20-cv-00966-NR Document 308 Filed 08/03/20 Page 2 of 2




Dated: August 3, 2020
                                  BY THE COURT:


                                  /s/ J. Nicholas Ranjan
                                  United States District Judge




                                   -2-
